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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )       No. S1-4:16 CR 000159 AGF
                                              )
LOREN ALLEN COPP, a/k/a/ “Sensei”             )
                                              )
       Defendant.                             )

GOVERNMENT’S RESPONSE TO STANDBY COUNSEL’S MOTION TO FILE REPLY
               BRIEF IN EXCESS OF THE PAGE LIMIT

       COMES NOW the United States of America, by and through Jeffrey B. Jensen, United

States Attorney for the Eastern District of Missouri, Jennifer A. Winfield, Assistant United States

Attorney for said District, and hereby objects to the defendant’s motion to file a reply brief

which is excess of the 15 page limit. Federal Local Rule 7-4.01(D). In support thereof, the

Government states the following:

           1. On March 29, 2017, a federal grand jury filed a superseding indictment on
              defendant Copp on Counts One and Two: Production of Child Pornography in
              violation of Title 18 U.S.C. Section 2252(a); Count Three: Attempted Production
              of Child Pornography in violation of Title 18 U.S.C. Section 2252(a); Count Four:
              Possession of Child Pornography in violation of Title 18 U.S.C. Section
              2252(a)(5)(B); Counts Five and Six: Use of Interstate Facilities to Persuade,
              Induce, Entice, or Coerce a Minor to Engage in Sexual Activity in violation of
              Title 18 U.S.C. Section 2422 and Counts Seven, Eight and Nine: Use of Interstate
              Facilities to Transmit Information with the Intent to Entice, Solicit or Encourage a
              Minor to Engage in Sexual Activity in violation of Title 18 U.S.C. Section 2425.

           2. This Court conducted a bench trial from April 11, 2018 to April 24, 2018.

           3. The verdicts in this matter were returned on December 26, 2018.

           4. On January 4, 2019, Copp outlined 19 grounds in his motions for a new trial and
              judgement of acquittal. On January 24, 2019, the government filed its response.
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          5. Copp has already outlined 19 grounds in his previously filed motion for a new
             trial, and there is no constitutional right to reply to the government’s response.
             See Brecht v. Abrahamson, 507 U.S. 619, 637–638, 113 S.Ct. 1710, 123 L.Ed.2d
             353 (1993) (holding that federal habeas relief is unwarranted unless the error had
             a “substantial and injurious effect or influence” on the trial outcome).
             Nevertheless, Copp was granted a continuance to reply the government’s
             response, and his filing was due by July 31, 2019.

          6. Now before this court is Copp’s motion to file a 310-page reply to the
             government’s response to his motion for a new trial.

          7. Local Rule 7-4.01(D) sets out the maximum length of motions and memoranda
             filed in the Eastern District of Missouri at 15-pages, and it applies to all litigants.
             A motion for a new trial is a “motion” as contemplated by the local rule.

          8. Federal Rule of Criminal Procedure 57 allows district courts to apply local rules.

          9. Therefore, here it is proper for the district court to apply Local Rule 7-4.01 and
             not allow the defendant to file a reply that is 295-pages over the 15-page limit.
             Martinez v. United States, 865 F.3d 842, 844 (6th 2017)(the court held that the
             defendant would not be allowed to file a 628-page motion to vacate his sentence
             because it far exceeded the 20-page limit provided by the district’s local rule).
             See, United States v. Wardell, 564 Fed. Appx. 418 (10th 2014).

          10. The current page limit is more than sufficient to permit the defendant to identify
              key issues and concisely explain his position to the Court. In addition, Copp’s
              initial motion for a new trial already included 19 grounds, so his initial filing and
              the overall complexity of the case do not warrant the 310-page length of his new
              reply brief.

       WHEREFORE, in light of the foregoing, the government objects to the defendant’s

request to submit a 310-page filing. Accordingly, the Court should deny defendant's pending

motion.

                                             Respectfully submitted,
                                             JEFFREY B. JENSEN
                                             United States Attorney

                                             s/ Jennifer A. Winfield
                                             JENNIFER A. WINFIELD, 53350MO
                                             Assistant United States Attorney
                                             111 S. 10th Street, Rm. 20.333
                                             St. Louis, Missouri 63102
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                                CERTIFICATE OF SERVICE
       I hereby certify that on August 1, 2019, the attached was filed electronically with the
Clerk of the Court and served by way of this Court's Electronic Notification System upon all
counsel of record, and mailed to Loren Copp at the St. Charles County Adult Detention Center,
301 N. Second Street, St. Charles, MO 63301.



                                             s/ Jennifer A. Winfield
                                             JENNIFER A. WINFIELD, 53350MO
                                             Assistant United States Attorney
